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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                         Case No. 8:09-CR-223-T-30EAJ

PRUDENCIO PANAMENO-RAMOS, et al.
_______________________________________/


                                                   ORDER

          Pending before the Court is Defendant Panameno-Ramos's Motion to Dismiss
Indictment and Request for Oral Argument (Dkt. #31), which has been adopted1 by co-
defendants Eduardo Rodriguez-Renteria, William Parra Suarez and Carlos Cordobo-
Rodriguez. The Government has responded. (Dkts. #38, 39, 40).
          The Court notes that the Honorable Elizabeth Kovachevich, in case number 8:09-cr-5-
T-17EAJ, denied the exact same motion to dismiss in an Order entered April 2, 2009, at Dkt.
#41 in that case. After careful review, the Court adopts the analysis and reasoning of Judge
Kovachevich and likewise finds the statute at issue in this case free from the constitutional
infirmities raised by Defendants. Accordingly, Defendant Panameno-Ramos's Motion to
Dismiss Indictment (Dkt. #31) is DENIED. The request for oral argument is DENIED as
unnecessary.
          DONE and ORDERED in Tampa, Florida on July 9, 2009.




Copies furnished to:
Counsel/Parties of Record
F:\Docs\2009\09-cr-223.dismiss 31.wpd




          1
              See Dkts. #32, 35, 36, 37, 41, 42.
